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AO 91 (Rev. 11/11) Criminal Complaint (approved by AUSA K.T. Newton)                                          'mat / ')- /t; l-(


                                     UNITED STATES DISTRICT COURT
                                                                       for the
                                                   Eastern District of Pennsylvania

                  United States of America                                )
                                V.                                        )
                        Dimitre Hadjiev                                   )
                                                                          )
                                                                                  Case No. 19 _     l4 l   <-m
                                                                          )
                                                                          )
                                                                          )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of           April 17, 2017 to Feb. 26 , 2019            in the county of                Philadelphia      in the

     Eastern           District of          Pennsylvania           , the defendant(s) violated :

               Code Section                                                         Offense Description
 18 U.S.C. Section 1956                          Money laundering
 31 U.S.C. Sections 5324(a) , 5313               Structuring transactions to evade reporting requirements
 31 U.S.C. Sections 5324(b), 5331                Failing to file reports relating to currency received in nonfinancial trade or
                                                 business




         This criminal complaint is based on these facts :
 Between on or about April 17, 2017 and on or about February 26 , 2019, in the Eastern District of Pennsylvania,
 defendant laundered monetary instruments, structured transactions to evade reporting requirements, and failed to file
 reports relating to currency received in nonfinancial trade or business,in violation of 18 U.S.C. §1956 and 31 U.S.C.
 §§ 5324(a), 5313, 5324(b), 5331.
 See attached Affidavit.

         rvf   Continued on the attached sheet.




                                                                                              Kyle Wood, Special Agent , FBI
                                                                                                      Printed name and title

Sworn to before me and signed in my presence.


Date:          AuguP          2019
                                                                                                           Judge's signature

City and state:                       Philadelphia, PA                                          Honorable Timothy R. Rice
                                                                                                      Printed name and title
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             AFFIDAVIT IN SUPPORT OF
          COMPLAINT & ARREST WARRANT,
APPLICATION & WARRANT TO SEARCH & SEIZE EVIDENCE,
  APPLICATION & WARRANT TO SEIZE BANK ACCOUNT


       I, Kyle Wood, being first duly sworn, hereby depose and state as follows:


                     INTRODUCTION AND AGENT BACKGROUND

1. I am a Special Agent with the Federal Bureau of Investigation ("FBI") in Philadelphia,

   Pennsylvania and have been since September 2017. I am a "federal law enforcement officer"

   within the meaning of Federal Rule of Criminal Procedure 41(a)(2)(C), that is, a government

   agent engaged in enforcing the criminal laws and duly authorized by the Attorney General to

   request a search warrant.

2. This affidavit is submitted in support of: (a) an arrest warrant for DIMITRE HADJIEV;

   (b) a search warrant for 330 South Street, Philadelphia, PA, the business address for ICE

   FIRE INC. ("ICE FIRE"), a/k/a "Dimitre's Jewelry & Watches," a business owned and

   operated by DIMITRE HADJIEV, further described in Attachment A; and (c) a seizure

   warrant for all funds in Citizens Bank account number 6233944140.

3. For the reasons stated below, there is probable cause to believe that: (a) DIMITRE HADJIEV

   has committed criminal activities, including money laundering, in violation of 18 U.S.C.

   § 1956, structuring cash transactions to avoid reporting requirements, in violation of 31

   U.S.C §§ 5324(a) and 5313, and failing to file reports relating to currency received in

   nonfinancial trade or business, in violation of 31 U.S.C §§ 5324(b) and 5331; (b) there is

   evidence at this business location relating to criminal activities of DIMITRE HADJIEV,
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     including interstate transportation of stolen property and receipt and sale of stolen goods that

     have been transported interstate, in violation of 18 U.S.C. §§ 2314 and 2315, money

     laundering, in violation of 18 U.S.C. § 1956, structuring cash transactions to avoid reporting

     requirements, in violation of 31 U.S.C §§ 5324(a) and 5313, and failing to file reports

     relating to currency received in nonfinancial trade or business, in violation of 31 U.S.C

     §§ 5324(b) and 5331; and (c) the funds in Citizens Bank account number 6233944140 are

     property involved in violations of 18 U.S.C. § 1956 and 31 U.S.C § 5324, and property

     traceable thereto, and are therefore subject to seizure and forfeiture, pursuant to 18 U.S.C

     §§ 98l(a)(l), 981(a)(l)(C), 981(b), 982(a)(l) and 984, 21 U.S.C § 2461, and 31 U.S.C

     §§ 5317(c)(l) and 5317(c)(2).

4.   This affidavit is intended to show only that there is sufficient probable cause for the

     requested complaint and warrants and does not set forth all of my knowledge about this

     matter.

                                      AGENT BACKGROUND

5. Prior to being an FBI Special Agent, I was employed by the FBI for nine years as both an

     Intelligence Analyst within the Counterterrorism Division at FBI Headquarters and an

     Investigative Specialist in the FBI Denver office.

6. I am currently assigned to FBI Philadelphia's Joint Terrorism Task Force ("JTTF"), where I

     am involved in domestic and international terrorism investigations.




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7. I have participated in criminal investigations and have participated in all aspects of

     investigations, to include conducting physical and electronic surveillance, analyzing financial

     records and social media information, analyzing information from court-ordered intercepts

     and pen registers, and analyzing subscriber and telephone toll information obtained as a

     result of subpoenas. Further, I have conducted and participated in search warrants, arrest

     warrants, and interviews of witnesses and subjects.

8. As a result of my training and experience, I am familiar with the tactics, methods and

     techniques of criminals, including the use of computers, cellular telephones, social media,

     email, and the Internet, in connection with their criminal activity.

                                   INVESTIGATION BACKGROUND

9.   ~   base this affidavit on my personal investigation and the investigation of other FBI Special

     Agents and Special Agents with the Internal Revenue Service ("IRS") and an FBI forensic

     accountant.

10. I am one of the case agents assigned to the criminal investigation of DIMITRE HADJIEV.

     The information contained within this affidavit is based on my training and experience, as

     well as my review of documents, source information, recorded conversations, and

     information and experience imparted to me by other law enforcement officers. Because this

     affidavit is being submitted for the limited purpose of establishing probable cause and

     securing an arrest warrant, a search warrant and a seizure warrant, I have not included each

     and everyfact known to me concerning this investigation.


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11. I have set forth only the facts that I believe are necessary to establish probable cause to

    believe that: (a) DIMITRE HADITEV has committed criminal activities, including

    money laundering, in violation of 18 U.S.C. § 1956, structuring cash transactions to avoid

    reporting requirements, in violation of31 U.S.C §§ 5324(a) and 5313, and failing to file

   reports relating to currency received in nonfinancial trade or business, in violation of 31

   U.S.C §§ 5324(b) and 5331 ; (b) evidence and instrumentalities of violations of 18 U.S.C.

    § 2314 and 2315 (interstate transportation of stolen property and receipt and sale of stolen

   items that have been transported interstate); 18 U.S.C. § 1956 (money laundering), 31 U.S .C.

   §§ 5324(a) (structuring cash transations to avoid reporting requirements), and 5313 and 31

   U.S.C. §§ 5324(b) and 5331 (causing or attempt to cause a nonfinancial trade or business to

   fail to file reports relating to coins and currency received in nonfinancial trade or business)

   are currently located at 330 South Street, Philadelphia, PA; and (c) the funds in Citizens

   Bank account number 6233944140 are property involved in violations of 18 U.S.C. § 1956

   and 31 U.S.C § 5324, and property traceable thereto.

12. I have discussed this investigation with other law enforcement agents and we have discussed

   techniques and methods by which white collar criminals maintain records to identify and

   locate other ill-gotten property and proceeds and moneys owed and received, as well as the

   techniques and methods by which white collar criminals acquire, spend, convert, transport,

   distribute and conceal the proceeds they derive from their unlawful activities.




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13. Based upon my training, experience, discussions with other law enforcement agents, and

   participation in this and other investigations, I have reason to believe that individuals, such as

   DIMITRE HADJIEV, who are involved in the receipt and sale of stolen property and money

   laundering:

       (a) often place assets in names other than their own to avoid detection of these assets by

          government and law enforcement agencies, but actually own and continue to use

          these assets and exercise dominion and control over them;

       (b) maintain in their business locations computerized or written books, records, receipts,

          diaries, notes, ledgers, airline tickets, cashier's checks, money orders and other papers

          relating to the.frauds being perpetrated;

      (c) conceal contraband, proceeds of fraud, records of these transactions, and records

          reflecting names, nicknames, addresses and telephone numbers of associates within

          their business locations for ready access and to hide them from law enforcement

          agencies;

      (d) maintain records reflecting names, nicknames, addresses and telephone numbers of

          both their current and past associates;

      (e) conceal within their businesses large amounts of currency, financial instruments,

          precious metals, precious gemstones, jewelry, electronic equipment, and other items

          of value and/or proceeds of money laundering and evidence of financial transactions




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           relating to obtaining, transferring, secreting, or spending large sums of money made

           in illegal activities; and

       (f) attempt to legitimize the profits from illegal transactions by using domestic banks and

           their attendant services (i.e., safe deposit boxes, securities, cashier's checks, money

           drafts, letters of credit, brokerage houses, and real estate).

14. I am aware that federal courts have recognized that an unexplained increase in wealth is

   probative evidence of crimes motivated by greed and, based on my training and experience, I

   know that individuals engaged in the receipt and sale of stolen property and money

   laundering will accumulate and maintain substantial amounts of proceeds from an unlawful

   activity, specifically currency, over a period of years, so that the proceeds can be used in later

   years for personal asset acquisitions and/or expenditures during periods when the money

   launderer is not committing fraud.

                                        Background of Investigation

15. Since 2014, the FBI Violent Crimes Task Force and the Philadelphia Police Department,

   Major Crimes Division, have investigated a series of jewelry store distraction thefts and

   robberies reported to have been committed in multiple states by groups of males from the

   Philadelphia, Pennsylvania area between 2012 and late 2016. During the distraction thefts, a

   male entered the jewelry stores for the purpose of distracting employees and other males then

   entered the stores separately to covertly remove jewelry and/or watches from the jewelry

   store display cases. Law enforcement officers investigating these thefts determined, through



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    review of video surveillance recordings from the stores, that an individual, who later became

    a confidential source ("CS 1"), 1 was one of the participants in these distraction thefts.

16. In an interview in December 2016, CSl admitted to participating with others in at least 36

    diversionary style jewelry store thefts in multiple states between January 2014 and October

    2016. CSl stated that the stolen goods were almost always brought back to Philadelphia,

    where they were sold to "dirty jewelers" on South Street or Jeweler's Row. CS 1 identified

    one of the "dirty jewelers" who bought those stolen goods as DIMITRE HADJIEV, the

    owner of ICE FIRE, a jewelry store located at 330 South Street, Philadelphia, PA

    According to CS 1, stolen watches from the jewelry store thefts were always taken to

    HADJIEV. CS 1 stated that he never sold legitimately obtained watches to HADJIEV.




         On November 26, 2002, CS 1 was convicted of interstate transportation of stolen goods in
the Eastern District of Pennsylvania and was sentenced to 24 months' imprisonment and three
years' supervised release. In addition, on October 10, 2018, CSl entered a guilty plea to
interstate transportation of stolen goods and fraudulent use of a social security number in the
Eastern District of Pennsylvania and hopes to get a benefit from the government through a
cooperation guily plea. Philadelphia County records show that CS 1 had been arrested on at least
15 prior occasions for theft-related and burglary charges and been convicted of theft crimes on at
least ten occasions, with the latest occurring in 2015.




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    17. In the robberies, a different group of males, including an individual who later became a

       confidential source ("CS2"), 2 committed robberies of jewelry stores. CS2 provided the

       following information about the sale of stolen high-end watches to HADJIEV in interviews

       in the fall of 2012 and September 2015. CS2 was part of a "crew" that committed robberies

       of jewelry stores in the Philadelphia, PA area, stealing mostly high-end watches, in 2012.

       CS2's compensation for participating in the robberies was the receipt of some of the stolen

       watches. CS2 received approximately 24 stolen watches from a January 2012 robbery of

       Govberg & Son Jewelers and sold them to "DIMITRE" at ICE FIRE. CS2 received two

       stolen Rolex watches from a February 2012 robbery of Bernie Robbins Jewelry and also sold

       them to DIMITRE at ICE FIRE. CS2 sold two or three stolen Rolex watches from an April

       2012 robbery ofToumeau Jewelers to DIMITRE at ICE FIRE for approximately $30,000.

       CS2 also stated that he accomp~nied another member of the "crew" when that individual

       sold two stolen women's Rolex watches from an August 2012 robbery of Toumeau Jewlers

       to DIMITRE at ICE FIRE for approximately $18,000. According to CS2, if DIMITRE



2
 CS2 entered a guilty plea, pursuant to a cooperation agreement, in the Eastern District of
Pennsylvania, to multiple counts of conspiracy, robbery and use of a firearm during a crime of
violence and, on June 15, 2016, was sentenced to 24 months imprisonment. CS2 also entered a
guilty plea, pursuant to a cooperation agreement, in the Eastern District of Pennsylvania, to
conspiracy to commit Hobbs Act robbery, the commission of Hobbs Act robbery and possession
of a firearm in relation to a crime of violence and, on June 16, 2015 was sentenced to 102
months imprisonment.




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   HADJIEV thought a watch was "too hot," he would pay a lower price for that stolen watch.

                                     Current Investigation

18. On April 17, 2017, at the direction of FBI agents, CSl, after going to ICE FIRE but not

   making contact with DIMITRE HADJIEV, contacted HADJIEV on HADJIEV's cellphone

   and then met with HADJIEV in person at ICE FIRE and sold HADJIEV the following two

   allegedly stolen Ro lex watches, both of which were certified used Ro lex watches that had

   been purchased from Signet Jewelers by the FBI: (a) a Rolex Oyster Submariner, 14k yellow

   gold, men's wristwatch, Model #16613, Serial #U730355, with a retail value of $12,800; and

   (b) a Rolex GMT Master II Oyster, 18k yellow gold, men's wristwatch, Model #16713, Serial

   #S353721, with a retail value of $12,400. During this meeting in a room in the back of the

   store, which was recorded, CS 1 represented to HADJIEV that both of the Ro lex watches

   were stolen, stating to HADJIEV: "Yea. Can't be choicy when they fall off the truck."

   HADJIEV purchased both allegedly stolen Ro lex watches from CS 1 for a total of $5,000.

   HADJIEV paid CSl $5,000 in cash which he obtained from an unknown location within the

   store. HADJIEV did not ask CS 1 for identification or provide CS 1 with a receipt of this sale.

19. On October 20, 2017, at the direction of FBI agents, CSl again met with HADJIEV at ICE

   FIRE and sold HADJIEV the following two allegedly stolen Ro lex watches, both of which

   were certified used Rolex watches purchased from Signet Jewelers by the FBI: (a) a Rolex

   Oyster Submariner, stainless steel, perpetual date, men's wristwatch, Model #16610, Serial

   #N398215, with a retail value of $8,200; and (b) a Rolex Oyster Presidential, 18k yellow



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    gold, perpetual date, men's wristwatch, Model #18038, Serial #9587413, with a retail value

    of $29,800. During this meeting, which was recorded, CSl told HADJIEV: "I got two."

    Referring to one of those allegedly stolen watches, HADJIEV said that it was "old," to which

    CSl replied: ''It's used. Do you know what I mean?" HADJIEV agreed to purchase both

    watches for a total of $8,000, paid CS 1 $2,000 in cash, and asked CS 1 to return in two hours

    for payment of the remaining $6,000. CS 1 agreed and left the store. CS 1 returned to ICE

    FIRE two hours later and, at that time, HADJIEV paid CS 1 the remaining $6,000 balance for

    the two allegedly stolen Ro lex watches. HADJIEV did not ask CS 1 for identification or

   provide CS 1 with a receipt. This second meeting was also recorded.

20. On October 20, 2017, FBI agents observed the following activities ofHADJIEV after he paid

   $2,000 to CSl and before he paid the remaining $6,000 to CSl: (a) he left ICE FIRE; (b) he

   talked on a cell phone; (c) he met an unknown male; (d) he and the unknown male walked

   together east on South Street in Philadelphia; (e) a short time later, he entered a green Ford

   SUV driven by an unknown driver that was parked on South Street and the car left the area;

   (e) approximately one hour later, he returned to ICE FIRE.

21. On April 25, 2018, at the direction of FBI agents, an FBI undercover employee ("UCl")

   went to ICE FIRE and sold to HADJIEV, for $7,500, an allegedly stolen Rolex gold Oyster

   Perpetual Day-Date 36 Chronometer watch, Model #Ml 18238-0108, Serial #85P33819, with

   a retail value of $31,350, that had been purchased from Ro lex by the FBI. UC 1 represented

   to HADJIEV that the Rolex watch was stolen, stating that the Rolex watch had "no



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    paperwork," was "clean," and had been bought "off the street." HADJIEV paid $2,900 to

    UCl as a down payment and asked UCl to return the following day for the $4,600 balance

    owed. During that meeting, HADJIEV told UCl to download and use the WhatsApp social

    application to communicate with HADJIEV. HADJIEV did not ask UCl for identification or

    provide UCl with a receipt. Also, at that meeting, UCl told HADJIEV: "I got two more like

    this," and showed HADJIEV two additional allegedly stolen Rolex watches. This meeting

   was recorded.

22. On April 26, 2018, UCl returned to ICE FIRE to collect the remaining cash payment of

   $4,600 from the April 25, 2018 watch sale. HADJIEV, however, only paid $4,500 to UCl at

   that time. At this meeting, UCl again showed HADJIEV the two additional allegedly stolen

   Rolex watches and HADJIEV agreed to purchase those for $16,000. Those two additional

   allegedly stolen Rolex watches, purchased by the FBI from Rolex, were: (a) a Black Square

   Rolex Oyster Perpetual Day-Date 36 Chronometer watch, Model #Ml 18238-0089, Serial

   #15280381, with a retail value of $37,050; and (b) a gold Cham Rom Ro lex Oyster Perpetual

   Day-Date 40 Chronometer Chronergy watch, Model #M228238-0006, Serial #3192K.5T0,

   with a retail value of $34,850. HADJIEV asked UCl to wait at ICE FIRE while HADJIEV

   left the store to obtain cash for the two Rolex watches. This meeting was recorded.

23. FBI Special Agents conducting physical surveillance during this undercover operation,

   observed HADJIEV depart ICE FIRE at approximately 2:42 p.m. and enter a vehicle with an

   UBER sticker displayed in the window.



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24. At approximately 3:25 p.m., HADnEV returned to ICE FIRE and paid $16,100 to UCl for

    the two allegedly stolen Rolex watches. HADnEV did not ask UCl for identification or

    provide UCl with a receipt. After the transaction was completed, UCl asked HADJIEV if he

    was looking for any other watches and HADnEV responded that he needed a gold or two

    tone silver and gold "Sky Dweller" for a client. HADnEV showed UCl a picture of a gold

    "Sky Dweller" on his cell phone. Due to an error, this meeting was not recorded.

25. On May 2, 2018, I viewed HADnEV's publically accessible Instagram account,

   dimitrethejeweler - Dirnitre's ICE FIRE Inc, and saw a photograph with a gold Rolex watch,

   with the following caption: "Clean !! ... #southstreetphilly #beverlyhills #belair #rodeodrive

   #jewelersrowphiladelphia #dimitresicefireinc #daydate4mm #2018#." I, and fellow agents,

   believed that this watch, was the gold Cham Rom Rolex Oyster Perpetual Day-Date 40

   Chronometer Chronergy watch, Model #M228238-0006, Serial #3192K5TO, sold to

   HADnEV by UC 1 on April 26, 2018.

26. On May 7, 2018, at the direction of FBI agents, a confidential source ("CS3"), with an FBI

   Task Force Officer ('TFO") acting in an undercover capacity ("UC2"), met with HADnEV

   inside ICE FIRE. CS3 spoke with HADnEV and inquired about the Rolex watch posted on

   HADnEV's Instagram account. HADJIEV showed the Rolex watch for sale to CS3 and

   UC2, stating that it was for sale for $29,000. CS3 set up a follow-up meeting with HADJIEV

   for May 8, 2018 to purchase the Rolex watch.




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27. On May 8, 2018, at the direction of FBI agents, CS3 and UC2 met with HADJIEV inside

   ICE FIRE and purchased the Ro lex watch that had been posted on HADJIEV' s Instagram

    account for $29,000. During the transaction, HADJIEV continually tried to convince CS3 to

   pay in increments of less than $10,000 to avoid IRS reporting requirements, and offered to

   falsify a receipt for items and services not purchased as a way to minimize the sales tax and

   reporting requirements. Before the transaction was completed, HADJIEV offered to clean the

   watch for CS3. During the transaction, UC2 observed HADJIEV walking in and out of the

   back room and, at one point, UC2 observed HADJIEV remove the back of the Rolex watch

   case from the body of the watch with a tool. At the end of the Ro lex watch purchase, CS3

   asked HADJIEV about a receipt for the purchase and HADJIEV told CS3 and UC2 that he

   would not provide a receipt for the Rolex watch. This meeting was recorded.

28. During this transaction, HADJIEV provided instructions to CS3 about structuring cash

   payments and avoid IRS reporting requirements. The following are comments HADJIEV

   made in the presence of CS3 and UC2 during the purchase of the Rolex watch for $29,000:

   (DH- Dimitre Hadjiev I VI-Unintelligible I OV-Overlapping Voices)

       DH: That 's how you usually do it. You gotta take, give the payment like ten thousand at a

       time

       DH: (UI) (OV) I'm gonna take the money from you right now, but it's not that simple.

       DH: (UI) ten thousand we gotta report it to IRS'. That 's why if we break the-the price of

       the watch or just somehow I write up a receipt for diamonds or we write a receipt that


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       you purchased diamonds and you purchased the watch, purchased labor than that would

       make more sense, but not (UI) (OV).

       DH: But, this is a high volume watches and then mine doesn't come with the warranty

       and if you go to Rolex, they are going to ask you, where did you buy this watch from?

       And if they ask you, ohh, you didn't buy it from us, I'm sorry, you can't get no warranty.

       Do you understand? So that's why it's ten thousand dollar cheaper because we buy from

       a jewelry store, bunch ofjewelry stores from South Street, but because you wanna spe-

       spend all this cash in one day, I don't wanna write the receipt and get deported by IRS.

29. On May 11, 2018, FBI Special Agent James Finnegan and FBI TFO John Benham took the

   Rolex watch purchased from HADJIEV by CS3 and UC2 to Govberg Jewelers, 1521 Walnut

   Street, Philadelphia, Pennsylvania, through coordination with the Rolex USA Director of

   Security, for an examination. The examination revealed that the watch was a Gold Rolex

   Oyster Perpetual Day-Date 40 Chronometer, Model #M22823, but the serial number had

   been almost completely erased by either buffing or polishing. According to the examiner,

   whoever polished or buffed the serial number knew exactly what they were doing to not

   damage the watch or the watch movements. The method used by the examiner to locate the

   serial number -- removing the back of the watch case from the body -- was the same as the

   actions that UC2 saw HADJIEV take during the May 8, 2018 transaction.

30. On July 19, 2018, FBI Special Agent James Finnegan and FBI TFO John Benham took the

   Rolex watch purchased from HADJIEV by CS3 and UC2 on May 8, 2018 to Rolex USA,



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   665 Fifth Avenue, New York, New York 10022 to be examined by Rolex. The examination

   by Rolex confirmed that the internal movement number matched the serial number for Model

   Number M228238-0006, Serial Number 3192K5T0, Gold Perpetual Day-Date 40

   Chronometer, sold by Rolex to the FBI, and that this watch was one of the watches sold as an

   allegedly stolen Ro lex watch to HADJIEV by UCl.

31. On September 21, 2018, UCl contacted HADJIEV via WhatsApp and provided a photo of a

   Rolex "Sky-Dweller" watch next to two other Rolex watches and asked HADJIEV if he was

   still interested in purchasing the Sky-Dweller watch, referring to HADJIEV's request during

   the April 26, 2018 meeting with UCl. HADJIEV responded with a request for UCl to bring

   all three watches to HADJIEV. UCl responded that he would bring the watches after the

   "dust settles" from the "rip" (indicating stolen watches).

32. On October 20, 2018, HADJIEV attempted to contact UCl late at night via a Whats App

   video chat.

33. On December 19, 2018, FBI Special Agents purchased two certified Rolex watches from

   Bernie Robbins Jewelers in Marlton, NJ: (a) a Rolex 40MM 18K yellow gold Day-Date

   Fluted Bezel - Silver Roman Dial President Brae, Model #M228238-0002, Serial

   #C292M306, with a retail value at $34,850 and (b) a Rolex Mens 18K white gold Sky-

   Dweller - GMT - Annual Calendar - Black Dial -Black Strap, Model #M326139-0002, Serial

   #031280H8, with a retail value of $39,550. These two watches were purchased in




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   anticipation of UCl setting up an in-person meeting with HADJIEV to sell the watches,

   represented as stolen from an out of state robbery, to HADJIEV.

34. On January 23, 2019, at the direction of FBI agents, UCl went to ICE FIRE and sold to

   HADJIEV, for a total of $17,000, one certified Rolex watch that had been purchased from

   Rolex by the FBI on March 28, 2018, a Rolex silver dial index, Oyster Perpetual Day-Date

   40 Chronometer Chronergy, Model #M228238-0008, Serial #0L289269, with a retail value

   of $34,85), and the two certified Rolex watches purchased from Bernie Robbins Jewelers by

   the FBI on December 19, 2018. UCl represented to HADJIEV the three Rolex watches were

   stolen. Along with the watches, UCl provided HADJIEV with Rolex boxes for the Rolex

   40MM 18K yellow gold Day-Date Fluted Bezel- Silver Roman Dial President Brae, Model

   #M228238-0002, ,5erial #C292M306, and the Rolex Mens 18K white gold Sky-Dweller -

   GMT - Annual Calendar - Black Dial - Black Strap, Model #M326139-0002, Serial

   #031280H8, and told HADJIEV he did not have a Rolex box for the Rolex silver dial index,

   Oyster Perpetual Day-Date 40 Chronometer Chronergy, Model #M228238-0008, Serial

   #0L289269, because that job was done "quick and dirty." UCl also told HADJIEV that the

   two watches with boxes, "caused me a lot of problems ... me and my boys ... we put it on lock

   down ... we had to wait. .. until that dust settled after we hit them places and got these

   watches; it was hot." HADJIEV indicated he understood the watches were stolen, stating to

   UCl: "I cannot display this stuff," and explaining that he would have to ship "them

   overseas." During the transaction, HADJIEV said he only had $15,000 on hand inside the



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   store and needed to go get the remaining $2,000. HADJIEV asked UCl to return to the store

   in approximately 30 minutes, stating that he would text UCl when he returned with the

   remaining cash.

35. FBI Special Agents conducted physical surveillance during the undercover operation on

   January 23, 2019. Agents observed UCl depart ICE FIRE on foot and observed HADJIEV

   depart ICE FIRE a short time later and enter a maroon Ford Fusion, New Jersey tag 872JPP,

   displaying an UBER sticker. The operator of the Ford Fusion drove HADJIEV to the general

   vicinity of 8th and Walnut Streets in Philadelphia, where HADJIEV exited the vehicle and

   entered a Citizens Bank branch. While in the Citizens Bank branch, HADJIEV was observed

   using a cell phone. After leaving the bank, HADJIEV entered a Honda CRV, Pennsylvania

   tag JNR 7446, displaying an UBER sticker. The operator of the Honda CRV drove

   HADJIEV back to ICE FIRE and HADJIEV entered the store. UCl entered ICE FIRE a

   short time after HADJIEV returned.

36. Once UCl had returned to the store, HADJIEV paid UCl $17,000 for the three allegedly

   stolen watches. This meeting was recorded.

   LAYOUT AND CURRENT OPERATION OF BUSINESS AT 330 SOUTH STREET

37. I have reviewed the video of recorded meetings between HADJIEV and CSl, UCl, UC2 and

   CS3 and have learned from these individuals their impressions of the physical layout of the

   ICE FIRE business. The main entrance to the store is located approximately midblock on the

   south side of South Street. The main door visible to South Street leads into a small area, a



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    "mantrap", where there is another door before entering the actual store. In this area, an armed

    security guard greets patrons before the door to the store is unlocked for patrons to browse.

    Once inside, there is a single, long, aisle with wall display counters on three of four sides,

    which include bullet-proof glass from the ceiling to the top of the display cases. Behind the

    glass and on the walls are more display cases. In the back right corner there is a single door

    to enter behind the glass as well as an area containing a one-way box for handing items to a

    person behind the glass. Behind the glass and in the back right corner of the area viewable by

   patrons, there is a doorway to an area containing the upstairs entrance and offices, with an

   area where HADJIEV has taken the items to be cleaned and to count money.

38. On August 9, 2019, I, with another FBI Special Agent, went to ICE FIRE. From the outside

   of the building, we observed that the store was open, a security guard was stationed outside

   the business, and there were Rolex watches and diamond jewelry displayed in the window.

                 BUSINESS ENTITIES OWNED BY DIMITRE HADJIEV

39. An FBI Forensic Accountant, Eric Hiser, reviewed the corporate structure of the following

   businesses for which DIMITRE HADJIEV is the registered owner:

   a. Ice Fire Inc., Tax ID #XX-XXXXXXX, 330 South Street, Philadelphia, PA 19147-1536,

       established on December 23, 2009;

   b. Dimitre's Ice Fire Inc., Tax ID #XX-XXXXXXX, 330 South Street, Philadelphia, PA 19147-

       1536, established on May 17, 2017; and




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    c. 201 LongLaneLLC, Tax.ID#XX-XXXXXXX, 201 Long Lane, Upper Darby, PA 19082,

        established on June 30, 2017.

                               ICE FIRE INSTAGRAM ACCOUNT

40. I have looked at the Instagram account of ICE FIRE and saw that 27 posts had been made

    between January 19 and July 29, 2019. Nineteen of those posts had photographs of high-end

    watches, including seven photographs of watches that could clearly be identified as Rolex

    watches. The Rolex watches all appeared to be customized, with additional diamonds or

    different faces on the watches. In addition, on July 20, 2019, photographs of HADJIEV with

    a new Tesla car were posted.

                RESIDENCE ON TIDRD FLOOR OF 330 SOUTH STREET

41. During the course of this investigation, I came to learn of an area on the third floor of 330

   South Street, Philadelphia, Pennsylvania, containing a sleeping area, small kitchen area and a

   television, that is used by HADJIEV as a residential area. The television is used by

   HADJIEV to monitor security cameras within ICE FIRE as well as a separate property

   owned by HADJIEV located at 201 Long Lane, Upper Darby, Pennsylvania.

42. On April 10, 2019, HADJIEV was interviewed by Customs and Immigration Service ("CIS")

   personnel regarding his pending application for citizenship. During this interview, when

   asked where he stays when he is in Philadelphia, HADJIEV stated "at the store location" at

   330 South Street and responded positively when asked if there was accommodations for

   someone to sleep, and stated there is a "space with a bathroom." HADJIEV also explained to



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   CIS personnel that, when his spouse visited Philadelphia, both he and his spouse stayed at

   330 South Street.

43. In 2018, officers with the Philadelphia Police Department ("PPD") interviewed HADJIEV at

   330 South Street with respect to an incident reported by HADJIEV. During that interview,

   PPD officers entered the residential area on the third floor of 330 South Street and observed a

   bed and television on that floor. While in the residential area, PPD personnel observed the

   surveillance cameras of two locations on the television. During the course of the

   interview, HADJIEV was asked to retrieve surveillance footage for the 330 South Street

   location, and HADJIEV used two laptops to download that surveillance video.

                                    FINANCIAL ANALYSIS

44. FBI Forensic Accountant Eric Hiser examined HADJIEV' s bank account activities from

   January 2017 through February 2019, and determined that, for business related transactions,

   HADJIEV utilized the following bank accounts:

       a. Wells Fargo Bank, account number 5249132480 ('Wells Fargo #2480"), business

          services account in the name oflce Fire Inc., signers Dimitar Hadzhiev, Dirnitre

          Hadjiev, open for the period of November 11, 2017 to October 25, 2018;

      b. Wells Fargo Bank, account number 8673356864 ('Wells Fargo #6864"), savings

          account in the name of Ice Fire Inc., signers Dimitar Hadzhiev, Dirnitre Hadjiev, open

          for the period of December 7, 2015 to October 25, 2018;




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        c. Wells Fargo Bank, account number 7362455110 ('Wells Fargo #5110"), business

           services account in the name of Dimitre's Ice Fire Inc., signer Dimitre Hadjiev, open

           for the period of June 27, 2017 to October 29, 2018; and

        d. Citizens Bank, account number 6233944140 ("Citizens Bank #4140"), checking

           account in the name of Dimitre's Ice Fire Inc., signer Dimitre Hadjiev, open for the

           period of October 1, 2018 to the present.

45. A review of deposits on and after the dates of the undercover Rolex watch purchases from

    CSl and UCl and the sale of the Rolex watch to CS3 and UC2, as well as on other dates,

    revealed activity consistent with structuring of cash deposits to avoid filing currency

    transaction reports ("CTRs") for deposits of more than $10,000. The financial analysis

   detailed in the following paragraphs highlights HADJIEV' s financial activities that occurred

   before and after the undercover purchases and sale and demonstrates significant structured

   cash deposit activity following undercover activity conducted with HADJIEV at ICE FIRE.

   As of August 13, 2019, queries by an IRS TFO with the FBI revealed that HADJIEV has not

   filed IRS Form 8300 for any cash payment over $10,000, including for the May 8, 2018 cash

   purchase of a Rolex watch by CS3 for $29,000, as required under 31 U.S.C. § 5331.

46. During his examination, FBI Forensic Accountant Hiser identified patterns and trends of

   HADJIEV's financial activities before and after undercover sales. Specifically, HADJIEV

   took out business loans from QuarterSpot Loans, Kabbage Inc., Ocwen, and M&T Bank, and

   made credit card purchases through his accounts with American Express and Barclay for


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    business expenses. HADJIEV then paid large payments to those loan providers and credit

    card companies after he made multiple cash deposits just under the currency transaction

    report ("CTR") reporting limits, that is, $10,000, as required under 31 U.S.C. § 5313.

    Further, after making those cash deposits HADJIEV paid rent for his store location and

    conducted transactions with other companies in the jewelry industry.

47. Based on this forensic accounting examination, and as demonstrated below, there is probable

    cause to believe that HADJIEV purchased the allegedly stolen watches from CSl and UCl,

    sold those watches at prices far exceeding the prices for which he purchased the watches, and

    then used the proceeds from those sales to fund his business operations. An example of this

   pattern is seen during and after HADJIEV's purchase of an allegedly stolen Rolex watch

   from UCl and the subsequent sale of that Rolex watch to C2S and UC2.

                          April 17, 2017 Sale of Watches to HADJIEV

48. On April 17, 2017, CS 1 sold two allegedly stolen Ro lex watches, with a total retail value of

   $25,200, to HADJIEV at ICE FIRE for $5,000. HADJIEV did not withdraw any cash from

   any known bank account in close proximity to the purchase of the watches, but retrieved the

   cash used to purchase the watches from an unknown location within ICE FIRE.

49. Following the purchase of the Rolex watches by HADJIEV, cash, totaling $61,186, was

   deposited into ICE FIRE's Wells Fargo #2480, between April 17 and May 8, 2017. Below is

   a listing of cash deposit activity in this period when the total cash deposited on a single day

   approached or exceeded the $10,000 CTR reporting limit. Given the timing and amounts,



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    these deposits appear to be structured in a manner to avoid the filing of CTRs. Wells Fargo

    filed a CTR for the April 17, 2017 deposits, as the aggregate deposits exceeded $10,000 on

    that date.

                                                             Deposit                 Total        CTR Filed
   Account          Date      Bank Statement Description                 Amount
                                                            Components             Deposited      (Yes/No)
                               eDeposit IN Branch/Store
   WF #2480                                                              $9,950
                4/17/2017     04/17 /17 12:49:44 Pm 340 S      Cash
 (ICE FIRE Inc)                                                                   $10,400 on
                              2ND St Philadelphia PA 0233                                         Yes, by
                                                                                  4/17/2017
   WF #2480                       Deposit Made In A                                              Wells Fargo
                  4/17/2017                                    Cash       450
 {ICE FIRE Inc)                       Branch/Store
                               eDeposit IN Branch/Stare
                              04/24/17 02:54:01 Pm 340 S
   WF #2480
                  4/24/2017              2ND St                Cash      9,900       9,900           No
 (ICE FIRE Inc)
                                 Philadelphia PA 0233
                                  chant 11117651FA
                               eDeposit IN Branch/Store
   WF #2480
                4/25/2017     04/25/17 01:31:36 Pm 340 S       Cash      5,000      5,000            No
 (ICE FIRE Inc)
                              2ND St Philadelphia PA 0233
                               eDeposit IN Branch/Store
   WF #2480
                4/26/2017     04/26/17 12:29:42 Pm 340 5       Cash      6,140      6,140           No
 (ICE FIRE Inc)
                              2ND St Philadelphia PA 0233
                               eDeposit iN Branch/Store
   WF #2480
                  5/3/2017    05/03/17 10:23:37 Am 340 S      Cash       9,950       9,950           No
 (ICE FIRE Inc)
                              2ND St Philadelphia PA 0233



50. After making the cash deposits on April 17, 2017, HADJIEV made a business loan payment

   from Wells Fargo #2480 to Kabbage Inc. in the amount of $9,000. One week later, on April

   24, 2017, after making cash deposits, HADJIEV wired $24,500 from Wells Fargo #2480 to a

   jewelry company, Black Sea Jeweler's, operated by HADJIEV's sister, Kristina Groetsch.




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                                          October 20, 2017

51. On October 20, 2017, CS 1 sold two allegedly stolen Rolex watches, with a total retail value

    of $38,000, to HADJIEV for $8,000. HADJIEV paid CS 1 $2,000 in cash during the initial

    meeting with HADJIEV, followed by a payment of $6,000 in cash two hours later. No cash

    was withdrawn from any of HADJIEV's known accounts within close proximity to the watch

    purchases.

52. Between October 20, 2017 and November 10, 2017, cash totaling $75,990 was deposited into

    Wells Fargo #2480.

53. Below is a listing of cash deposit activity in this period when the total cash deposited on a

    single day approached the $10,000 CTR reporting limit. Of the $75,990 deposited during

    this period, no cash deposits exceeded $10,000 on any single day or generated the filing of a

    CTR. However, given the timing and amounts, these deposits appear to be structured in a

    manner to avoid the filing of CTRs.

                                                                     Deposit                  CTR Filed
   Account           Date         Bank Statement Description                       Amount
                                                                   Components                 (Yes/No)
                               eDeposit IN Branch/Store 10/23/17
   WF #2480
                  10/23/2017       12:56:29 Pm 3405 2ND St             Cash        $9,500           No
 (ICE FIRE Inc)
                                     Philadelphia PA 0233
                               eDeposit IN Branch/Store 10/25/17
   WF #2480
                  10/25/2017       04:24:02 Pm 3405 2ND St             Cash         9,000           No
 (ICE FIRE Inc)
                                     Philadelphia PA 0233
                               eDeposit IN Branch/Store 10/27/17
   WF #2480
                  10/27/2017       03:03:10 Pm 340 S 2ND St            Cash         9,470           No
 (ICE FIRE Inc)
                                     Philadelphia PA 0233




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                                                                     Deposit                 CTR Filed
   Account           Date         Bank ~tatement Description                     Amount
                                                                   Components                (Yes/No)

                               eDeposit IN Branch/Store 10/30/17
   WF #2480
                  10/30/2017       12:00:25 Pm 340 S 2ND St           Cash        9,900         No
 (ICE FIRE Inc)
                                     Philadelphia PA 0233
   WF #2480                    eOeposit IN Branch/Store 11/03/17
                  11/3/2017                                           Cash        8,070         No
 (ICE FIRE Inc)                    4:16:36 Pm 340 S 2ND St
                                     Philadelphia PA 0233
                               eDeposit IN Branch/Store 11/09/17
   WF #2480
                  11/9/2017       10:48:35 Am 7950W Sunset            Cash        9,500         No
 (ICE FIRE Inc)
                                      Blvd Los Angeles CA
                               eDeposit IN Branch/Store 11/10117
   WF #2480
                  11/10/2017      11:01:04 Am 7950W Sunset            Cash        9,500         No
 (ICE FIRE Inc)
                                      Blvd Los Angeles CA


54. During this period, HADJIEV's cash deposits, totaling $75,990, funded: (a) credit card

    payments of $21,795 to American Express and $8,868 to Barclay; (b) business loan

   payments of $10,526 to QuarterSpot Inc.; and (c) rent payments of $5,202 for 330 South

   Street. During this period, HADJIEV also made bank and credit card payments, totaling

   $16,806, to jewelry industry related businesses, specifically Jewelry Diamonds, H. Chandra

   Diamonds, and Kozin Jewelers.

                               April 25 & 26, 2018 and May 8, 2018

55. On April 25 and 26, 2018, UCl sold three allegedly stolen Rolex watches, with a total retail

   value of $103,250, to HADJIEV for $23,500. In addition, on May 8, 2018, one of those

   allegedly stolen Rolex watches was purchased from HADJIEV for $29,000 by CS3 and UC2.

   No cash was withdrawn from any bank account by HADJIEV in close proximity to the watch




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    purchases by HADJIEV from UCL The cash used by HADJIEV to purchase those watches

    originated from an unknown source.

56. Between April 25 and May 22, 2018, cash, totaling $60,420, was deposited into Wells Fargo

    #2480.

57. Below is a listing of cash deposit activity during this period where the total cash deposited on

    a single day approached the CTR reporting limit. The timing and amount of the these

    deposits appear to be structured in a manner to avoid the filing of a CTR. The deposits made

    between May 8 and 10, 2018, totaling $27,050, coincide with the purchase of the Rolex

    watch for $29,000 by CS3 and UC2 on May 8, 2018.

                                  Bank Statement            Deposit                  CTR Filed
   Account          Date                                                 Amount
                                    Description           Components                 (Yes/No)
                              Edeposit IN Branch/Store
   WF #2480                    05/04/18 01:04:03 Pm
                  5/4/2018                                    Cash         9,960        No
 (ICE FIRE Inc)                     340 S 2ND St
                                Philadelphia PA 0233
                              Edeposit IN Branch/Store
   WF #2480                    05/08/18 01:32:18 Pm
                  5/8/2018                                    Cash         9,900        No
 {ICE FIRE Inc)                     340 5 2ND St
                                Philadelphia PA 0233
                              Edeposit IN Branch/Store
   WF #2480                    05/09/18 02:54:42 Pm
                  5/9/2018                                   Cash          9,900        No
 {ICE FIRE Inc)                     340 5 2ND St
                                Philadelphia PA 0233
                              Edeposit IN Branch/Store
  WF #2480                     05/10/18 01:14:51 Pm
                  5/10/2018                                  Cash          7,250        No
{ICE FIRE Inc)                      340 5 2ND St
                                Philadelphia PA 0233




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                                                             Deposit                  CTR Filed
   Account          Date          Bank Statement                          Amount
                                                           Components                 (Yes/No}
                                  Description



                               Edeposit IN Branch/Store
   WF #2480                     05/22/18 11:05:29 Am
                  5/22/2018                                    Cash         9,000        No
 (ICE FIRE Inc)                      340 5 2ND St
                                 Philadelphia PA 0233


58. During this time period, HADJIEV's cash deposits, totaling $60,420, were used: (a) to make

    business loan payments, totaling $22,485, to QuarterSpot, Kabbage Inc., and M&T Bank; (b)

    for jewelry industry transactions, totaling $15,409, to E. Lee's Jewelry, TNS Online, and

    Veronica Cortes; and (c) to pay rent, totaling $3,728, for 330 South Street.

                                         January 23, 2019

59. On January 23, 2019, HADJIEV purchased three allegedly stolen Rolex watches with a total

    retail value of $109,250 from UCL On that date, HADJIEV withdrew $2,000 from ICE

   FIRE's Citizens Bank #4140. The remaining cash used by HADJIEV to purchase the

   watches originated from an unknown source.

60. Between January 23 and February 13, 2019, $37,200 in cash was deposited into Citizens

   Bank #4140.

61. Below is a listing of cash deposit activity in this period when the total cash deposited on a

   single day approached the $10,000 CTR reporting limit. Only one deposit, on February 5,

   2019, exceeded $10,000 and that deposit generated the filing of a CTR by Citizens Bank.




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    With the exception of that February 5, 2019 deposit, the timing and amount of these cash

    deposits appear to be structured in a manner to avoid the filing of a CTR.

 Account         Date          Bank           Deposit        Amount        CTR Filed
                               Statement      Components                   (Yes/No)
                               Description
 Citizens Bank   1/28/2019     Deposit        Cash           $3,300        No
 #4140 (ICE
 FIRE Inc)
 Citizens Bank   1/31/2019     Deposit        Cash           6,000         No
 #4140 (ICE
 FIRE Inc)
 Citizens Bank   2/1/2019      Deposit       Cash            800           No
 #4140 (ICE
 FIRE Inc)
 Citizens Bank   2/5/2019      Deposit       Cash            16,000        Yes
 #4140 (ICE
 FIRE Inc)
 Citizens Bank   2/11/2019     Deposit       Cash            3,500         No
 #4140 (ICE
 FIRE Inc)
 Citizens Bank   2/12/2019     Deposit       Cash            7,000         No
 #4140 (ICE
 FIRE Inc)


62. During the review period, HADJIEV's cash deposits totaled $37,200, were used to make

   credit card payments, totaling $25,626, to American Express, and were used to conduct

   transactions, totaling $5,085, with jewelry related businesses.

             Summary of Financial Transactions in HADJIEV's bank accounts
                      From January 2017 through February 2019

63. For the period of time from January 2017 through February 2019, a total of $2,595,759.33

   was deposited into HADJIEV's bank accounts (excluding inter-account transfers) and, of that




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    total, $1,876,364 (72.3%) was deposited in cash. Only seven cash deposits, totaling

    $108,300, were more than $10,000. By contrast, 87 deposits, totaling $844,687, were for

    amounts between $9,000 and $10,000. The following is a breakdown of the cash deposits

    into HADJIEV's bank accounts:

     Cash Deposit Range             Number of Cash Deposits         Total of Cash Deposits

     $1 - $1,000                     149                            $87,498

     $1,000+ - $2,000               47 .                            $57,165

     $2,000+ - $3,000               28                              $66,532

     $3,000+ - $4,000               31                              $105,030

     $4,000+ - $5,000               31                              $137,800

     $5,000+ - $-6,000              24                              $124,100

     $6,000+ - $7,000               18                              $112,970

     $7,000+ - $8,000               16                              $115,910

     $8,000+ - $9,000               14                              $116,372

     $9,000+ - $10,000              87                              $844,687

     $10,000+                       7                               $108,300


64. Checks and wire transfers, totaling $294,362, that appear to be related to customer purchases,

   also were deposited into HADJIEV' s bank accounts during this time period.




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65. Credit card payments, totaling $826,584, were made during this time period from

   HADJIEV' s bank accounts.

66. In addition, during this time period, $74,142 in payments were made to the IRS and the

   United States Treasury; $24,553 in payments were made to Upper Darby School District; and

   $15,030 in payments were made to Upper Darby Township.

67. Also, payments, totaling $117,624 and made payable to P.A. and D.A., many referencing

   rent, water and taxes for 330 South Street, were made during this time period.

68. Payments for financial services, totaling $50,458, incluing $24,905 to Financial Pacific

   Leasing, were made during this period.

69. Analysis ofICE FIRE's Citizens Bank #4140, since it was opened, demonstrates the same

   pattern of structuring cash deposits the $10,000 CTR reporting limit:

Account         Date          Bank           Deposit        Amount         CTR Filed
                              Statement      Components                    (Yes/No)
                              Description
Citizens Bank
#4140 (ICE      10/22/18      Deposit        Cash           9,980          No
FIRE Inc}
Citizens Bank
#4140 (ICE      10/23/18      Deposit        Cash           5,300          No
FIRE Inc}
Citizens Bank
#4140 (ICE      10/25/18      Deposit        Cash           9,960          No
FIRE Inc}
Citizens Bank
#4140 (ICE      10/31/18      Deposit        Cash           7,000          No
FIRE Inc}




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Account         Date       Bank          Deposit      Amount    CTR Filed
                           Statement     Components             (Yes/No)
                           Description
Citizens Bank
#4140 (ICE      11/15/18   Deposit       Cash         9,900     No
FIRE Inc)
Citizens Bank
#4140 (ICE      11/16/18   Deposit       Cash         450       No
FIRE Inc)
Citizens Bank
#4140 (ICE      11/19/18   Deposit       Cash         9,996     No
FIRE Inc)
Citizens Bank
#4140 (ICE      11/21/18   Deposit       Cash         6,000    · No
FIRE Inc)
Citizens Bank
#4140 (ICE      11/26/18   Deposit       Cash         9,960     No
FIRE Inc)
Citizens Bank
#4140 (ICE      11/27/18   Deposit       Cash         1,000     No
FIRE Inc)
Citizens Bank
#4140 (ICE      11/28/18   Deposit       Cash         5,600    No
FIRE Inc)
Citizens Bank
#4140 (ICE      11/29/18   Deposit       Cash         9,980    No
FIRE Inc)
Citizens Bank
#4140 (ICE      11/30/18   Deposit       Cash         700      No
FIRE Inc)
Citizens Bank
#4140 (ICE      12/14/18   Deposit       Cash         9,000    No
FIRE Inc)
Citizens Bank
#4140 (ICE      12/19/18   Deposit       Cash         9,000    No
FIRE Inc)
Citizens Bank
#4140 (ICE      12/21/18   Deposit       Cash         7,000    No
FIRE Inc)




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70. Based on this analysis of HADJIEV's bank account transactions, there is probable cause to

   believe that HADJIEV was receiving and depositing cash proceeds from the sale of stolen

   jewelry into the ICE FIRE business bank accounts, causing and attempting to cause ICE

   FIRE to fail to file reports relating to the cash receipts by ICE FIRE, structuring the cash

   deposits into the bank accounts to avoid reporting requirements, commingling the structured

   cash deposits with other funds in the accounts, and using those structured deposits to operate

   ICE FIRE.

                                        CONCLUSION

71. Based on the above facts, my training and experience and the training and experience of

   other agents with whom I work, I have probable cause to believe HADJIEV knowingly

   purchased items, which were represented to HADJIEV as stolen and which HADJIEV

   acknowledged to be stolen, during undercover activities conducted by the FBI. During the

   transactions at the store operated by HADJIEV, it was also represented to HADJIEV that

   allegedly stolen items came from a state other than Pennsylvania. HADJIEV purchased from

   CSl and UCl ten certified Rolex watches, with a total retail value of $275,700, for $53,500.

   One of those allegedly stolen Ro lex watches purchased by HADJIEV was then sold by

   HADJIEV to CS3 and UC2. When that Rolex watch was examined after the sale to CS3 and

   UC2, it was determined the serial number had been removed and there is probable cause to

   believe that HADJIEV removed that serial number before selling that Rolex watch to CS3


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    and UC2. This is a further indication that HADJIEV was aware that the items he purchased

    from UCl were stolen. Moreover, during that sale, HADJIEV attempted to convince CS3 to

    structure the payments to avoid reporting requirements. HADJIEV accepted $29,000 from

    CS3 and did not file the appropriate IRS paperwork, Form 8300.

72. In addition, financial analysis of HADJIEV' s business bank accounts, including the Citizens

    Bank account, show a pattern of cash deposits around the time of the purchases which

   indicate- the proceeds from the illicit purchases are being deposited into the business bank

    accounts and used to fund business operations. HADJIEV used the proceeds from the illicit

   purchases to attempt to legitimize ICE FIRE. HADJIEV also deposited the cash proceeds

   into the business bank accounts, including the Citizens Bank account, and commingled the

   cash with other funds with the intent to conceal the source of the cash proceeds. The cash

   deposits, further, in many instances were structured to avoid the filing of CTRs for amounts

   over $10,000. HADJIEV regularly deposited amounts just below the threshold, to include

   multiple transactions on the same day, within very short time frames.

73. HADJIEV's actions in buying allegedly stolen watches, selling one of those allegedly stolen

   watches, structuring the deposits of the proceeds from that sale into his business account, and

   using the funds from the sale of the allegedly stolen watches to pay business related expenses

   are indicative of the type of activities HADJIEV conducts through his jewelry business. The

   actions taken by HADJIEV during these undercover sales and purchases, to include

   acknowledging the items were stolen, not providing receipts, not filing proper documentation


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    to the IRS, attempting to convince CS3 to pay in structured amounts, and laundering money

    from illicit purchases and sales, constitute violations of 18 U.S.C. § 1956 (laundering of

    monetary instruments), 31 U.S.C. § 5324(a) (structuring transactions to evade reporting

    requirement) , and 31 U.S.C. § 5324(b) (causing or attempting to cause a nonfinancial trade or

    business to fail to file reports relating to coins and currency received in nonfinancial trade or

    business).

74. Based on the above facts, my training and experience and the training and experience of

    other agents with whom I work, I have probable cause to believe that DIMITRE HADJIEV

   committed the offenses of money laundering, in violation of 18 U.S.C. § 1956, structuring

   cash transactions to evade reporting requirements, in violation of 31 U.S.C. § 5324(a), and

   causing and attempting to cause a business to fail to file reports relating to the receipt of

   coins and currency, in violation of 31 U.S.C. § 5324(b).

75. I submit that this affidavit also supports probable cause for a warrant to search ICE FIRE,

   330 South Street, Philadelphia, Pennsylvania, described more fully in Attachment A, and to

   seize the items described in Attachment B.

76. Based on the above facts, my training and experience and the training and experience of

   other agents with whom I work, I have probable cause to believe that the funds in Citizens

   Bank account No. 6233944140 are property involved in money laundering, in violation of 18

   U.S.C. § 1956, property involved in the structuring of cash transactions to evade reporting

   requirements, in violation of 31 U.S.C. § 5324(a), property involved in causing and



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    attempting to cause a business to fail to file reports relating to the receipt of coins and

   currency, in violation of 31 U.S.C. § 5324(b), and property traceable thereto. As such, there

   is probable cause to believe that the funds in Citizens Bank account No. 6233944140 are

    subject to forfeiture pursuant to 18 U.S.C. §§ 981(a)(l), 98l(a)(l)(C), 982(a)(l), and 984, 28

   U.S.C. § 2461, and 31 U.S.C. §§ 5317(c)(l) and 5317(c)(2).

77. Title 18, United States Code, Section 984, specifically provides that in any civil forfeiture

   action commenced within one year from the date of the offense, in which the subject property

   is funds deposited in an account in a financial institution, it shall not be necessary for the

   government to identify the specific property involved in the offense that is the basis for the

   forfeiture and it shall not be a defense that the property involved in such an offense has been

   removed and replaced by identical property.

78. This Affidavit is submitted in support of a seizure warrant under 18 U.S.C. § 98l(b), in part

   as incorporated by 31 U.S.C. § 5317(c)(2), as well as under 21 U.S.C. § 853(f), as

   incorporated by 18 U.S.C. § 982(b), 28 U.S.C. § 2461, and 31 U.S.C. § 5317(c)(l). Under 21

   U.S.C. § 853(f), the Court shall issue a warrant authorizing the seizure of property if there is

   probable cause to believe that the property to be seized would, in the event of conviction; be

   subject to forfeiture and an order under subsection 853(e) may not be sufficient to assure the

   availability of the property for forfeiture. A restraining order in this case may not be adequate

   to preserve the forfeitable funds because the funds in the Citizens Bank account may easily

   be withdrawn in cash or wired to another account. Accordingly, a restraining order is not



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    sufficient, and a warrant for the seizure of the funds contained within Citizens Bank account

    should be issued.

79. I therefore respectfully request that the Court issue the attached seizure warrant authorizing

    the United States to seize the funds in Citizens Bank account No. 6233944140 as proceeds of

    and property involved in the offenses described above, and property traceable thereto.

                                    REQUEST FOR SEALING

80. It is respectfully requested that this Court issue an order sealing, until further order of the

   Court, all papers submitted in support of this application, including the application and

   search warrant. I believe that sealing this document is necessary because the items and

   information to be seized are relevant to an ongoing investigation into the criminal

   organizations as not all of the targets of this investigation will be searched at this time.

   Based upon my training and experience, I have learned that online criminals actively search

   for criminal affidavits and search warrants via the Internet, and disseminate them to other

   online criminals as they deem appropriate, i.e., post them publicly online through the carding




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forums. Premature disclosure of the contents of this affidavit and related documents may

have a significant and negative impact on the continuing investigation and may severely

jeopardize its effectiveness.

                                                Respectfully submitted,




                                               Special Agent
                                               Federal Bureau of Investigation




   HONOR     E TIMOTHY , RICE
   UNITED STATES MAGISTRATE mDGE




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